      Case 20-80664-BSK         Doc 49     Filed 12/01/20 Entered 12/01/20 13:58:19             Desc Main
                                          Document      Page 1 of 2
                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF NEBRASKA

IN THE MATTER OF:                                         ) BK. NO. 20-80664-BSK
                                                          )
MATT A FINKEN                                             ) CHAPTER 13
                             SSN: ###-##-2867             )
                                                          )
                                                          )
                                                          )
Debtor.

                         TRUSTEE'S OBJECTION TO CONFIRMATION OF PLAN

COMES NOW, KATHLEEN A. LAUGHLIN, Chapter 13 Trustee, and objects to confirmation of the plan
pursuant to 11 U.S.C. § 1324 and Neb. R. Bankr. P. 3015-2(D) for the following reason(s):

   1. 11 U.S.C. §1308 requires the debtor, not later than the day before the First Meeting of
      Creditors, to file with the appropriate tax authorities all tax returns for all taxable periods ending
      during the 4-year period ending on the date of the filing of the petition, assuming the debtor was
      required to file a tax return under applicable non-bankruptcy law. Under 11 U.S.C. §1325(a)(9),
      the filing of tax returns in compliance with §1308 is a condition of confirmation. Pursuant to
      §521(f), the Trustee hereby requests that the debtor produce a copy of his 2019 Federal tax
      return. Until this document is filed with the appropriate taxing authority, a copy of the return is
      supplied to the Trustee, and the Trustee has had an opportunity for review, the Trustee reserves
      all objections to confirmation.

   2. The Trustee requests clarification regarding Part 1 of the amended plan. The Debtor proposes
      60 months of payments, then deducts 4 months for payments previously paid, but then
      proposes 55 additional payments. It is unclear if the Debtor is proposing an amended plan of 60
      months or 59 months.       Further, as of the filing of this amended plan, the Debtor made
      payments for 5 months, not 4 months as stated. Still furthermore, as of the filing of this
      amended plan, the Trustee had received $1,943.00.

   3. Based on pay advices received by the Trustee from the Debtor in response to the Trustee’s
      Request for Production of Documents, it appears the income on Form 122C-1 is understated.
      Therefore, an Amended Form 122C-1 and Amended Form 122C-2 should be filed in order to
      determine the amount of disposable income available.

WHEREFORE, Trustee prays that the Trustee's Objection to Confirmation be sustained.

          DATED: December 1, 2020

                                                            s/ Kathleen A. Laughlin
                                                            Kathleen A. Laughlin #16883
                                                            Chapter 13 Trustee
                                                            13930 Gold Circle, Suite #201
                                                            Omaha, NE 68144
                                                            (402) 697-0437
                                                            1-800-884-0437
      Case 20-80664-BSK        Doc 49     Filed 12/01/20 Entered 12/01/20 13:58:19         Desc Main
                                         Document      Page 2 of 2




                                        CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the Trustee's Objection was served on
CARRIE DOLL, debtor attorney, via the CM/ECF system of the United States Bankruptcy Court and a copy
was mailed on December 1, 2020, by first-class, U.S. mail, postage prepaid to the Debtor at the address listed
below:

MATT A FINKEN
4331 CORBY STREET
OMAHA, NE 68111


                                                          s/ Kathleen A. Laughlin
                                                          Kathleen A. Laughlin
